
17 N.Y.2d 881 (1966)
The People of the State of New York, Respondent,
v.
Gordon Rice, Appellant.
Court of Appeals of the State of New York.
Argued May 5, 1966.
Decided June 9, 1966.
Daniel Blatt and Anthony F. Marra for appellant.
Isidore Dollinger, District Attorney (Arnold Kideckel of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges BURKE, SCILEPPI, BERGAN and KEATING. Dissent: Judges FULD and VAN VOORHIS.
Judgment affirmed.
Judges FULD and VAN VOORHIS dissent and vote to reverse and to dismiss the complaint in the following memorandum: Evidence that defendant uttered the obscenities testified to, whatever other offense or crime it may have established *882 does not, in our opinion, make out or constitute the crime of endangering the morals of a minor in violation of subdivision 2 of section 483 of the Penal Law.
